Case 18-15891-LMI Doc18 Filed 05/31/18 Page 1of2

Fill in this information to identify your case:

Check one box only as directed in this form and in
Form 122A-1Supp:

Debtor 1 Mihieke

First Name Middle Name

 

Kw 1. There is no presumption of abuse.

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Sch flgs District of Ehtita
Case number { ¥ ~ / SVG, /

(If known)

 

C) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A—2).

C) 3. The Means Test does not apply now because of
qualified military service but it could apply later.

   

 

 

QJ) Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 1245

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 

 

iciomim Calculate Your Current Monthly income

 

1. What is your marital and filing status? Check one only.

x Not married. Fill out Column A, lines 2-11.
C} Married and your spouse is filing with you. Fill out both Columns A and 8, lines 2-11.

C) Married and your spouse is NOT filing with you. You and your spouse are:
UJ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

O) Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill-in the average monthly income .that you received from all. sources, derived during the 6 full months before you file this
bankruptcy casa. 11 U.S.C. § 101(10A). For example, if you are filing on Saptember 15, the 6-month period would be March 1 through
August 31. If the amount of your monthfy income varied during the 6 months, add the income for aif 6: months and divide the total by 6.
Fill in the result. Do not include any income amount more than once, For example, if both spouses own the same rental property, put the
income from that property:in one column only. If you have nothing to report for any line, ‘write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse ( /
2. Your gross wages, salary, tips, bonuses, overtime, and commissions Qa
(before all payroll deductions). $_X/ $e 2

3. Alimony and maintenance payments. Do not include payments from a spouse if DB
Column B is filled in. $e $e

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household, your dependents, parents, a
and roommates. Include regular contributions from a spouse only if Column B is not oD oft.
filled in. Do not include payments you listed on line 3. $ $

5. Net income from operating a business, profession, Debtor 4 Debtor 2

 

 

 

or farm
Gross receipts (before all deductions) $ Oe S$
Ordinary and necessary operating expenses -$ g -$ a
Net monthly income from a business, profession, or farm ¢ oe $ roPyy, $ oa $
6. Net income from rental and other real property Debtor 1 Debtor.2
Gross receipts (before all deductions) $ $
Ordinary and necessary operating expenses -—$ oF -$
Net monthly income from rental or other real property $ eS $ reply $ go

7. Interest, dividends, and royalties $ &

 

 

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Debtor 1 POPUIE. S WMiwelbe Case number (i known /7 £- / 5X7 /
First Name Middle Name 7 LastName
Column A Column B
Debtor 4 Debtor 2 or

non-filing spouse

8. Unemployment compensation $ g $

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: 0.0.0... ee

FOP YOU ...seessesscsessesssnessesesssecsceereesneesneeseeensseetesnsessnsesutesenenaess $ IA,

 

9. Pension or retirement income. Do not include any amount received that was a GF
benefit under the Social Security Act. $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total below.

Lif Len Gil Ene $ACCO-00 $_____
s_D $

 

 

 

 

 

 

 

 

Total amounts from separate pages, if any. +$ + $
11. Calculate your total current monthly income. Add iines 2 through 10 for each i+ -
column. Then add the total for Column A to the total for Column B. $a 000: Ov $ Z) “I$ L OVO, @

 

Total current
monthly income

| Part 2: | Determine Whether the Means Test Applies to You

 

 

 

 

 

 

 

 

 

12. Calculate your current monthly income for the year. Foliow these steps: 7 —
. . i y a 5
12a. Copy your total current monthly income from line 11. ............ccccseeeeeeceeeeeeetenees we Copy line 11 here™> L. $ 2A): 0 0;
Multiply by 12 (the number of months in a year). x 12
. . . i

12b. The result is your annual income for this part of the form. 12b. | $ : i
13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. Whig

Fill in the number of people in your household. ZF

Fill in the median family income for your state and size Of HOUSCHON. ou... es cescesesssesseeseessesseestssseesessesnssneenseaeenneseseenseeseteeneeenees 13. 860, 626 - 7

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

i4a, CL] Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. 2) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A—2.

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.
7 x
Signature of Debtor Signature of Debtor 2

Date 5, a WSL Date
MM DD Uk MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A—2.
If you checked fine 14b, fil! out Form 122A—2 and file it with this form.

  

 

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

 
